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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISON

   IN RE:

   JAMES EDWARD CARTER, IV                        :      CHAPTER 11
                                                  :
                   Debtor.                        :      CASE NO.: 18-68479-pmb
                                                  :


                               AMENDED NOTICE OF HEARING


          PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing to approve
   the Disclosure Statement in Courtroom 1202, United States Courthouse, 75 Spring Street, S.W.,
   Atlanta, Georgia at 2:00 P.M. on April 29, 2019.

   Your rights may be affected by the Court’s ruling on these pleadings. You should read these
   pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
   (If you do not have an attorney, you may wish to consult one.) If you do not want the court to
   grant the relief sought in these pleadings or if you want the court to consider your views, then
   you and/or your attorney must attend the hearing. You may also file a written response to the
   pleading with the Clerk at the address stated below, but you are not required to do so. If you file
   a written response, you must attach a certificate stating when, how and on whom (including
   addresses) you served the response. Mail or deliver your response so that it is received by the
   Clerk at least three business days before the hearing. The address of the Clerk’s Office is: Clerk,
   U.S. Bankruptcy Court, Suite 1340, 75 Spring Street, Atlanta Georgia 30303. You must also
   mail a copy of your response to the undersigned at the address stated below.


            Dated this 28th day of March, 2019.



                                                                  _____/s/_______
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